                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                            Civil Action No.: 5:18-cv-00484-BO

                                                )
EPIC GAMES, INC.,                               )
                                                )
              Plaintiff,                        )           JOINT MOTION FOR ENTRY OF
                                                )       STIPULATED ORDER AND PERMANENT
v.                                              )             INJUNCTION ON CONSENT
                                                )
BRANDON LUCAS and COLTON                        )
CONTER,                                         )
                                                )
              Defendants.                       )
                                                )

       Plaintiff Epic Games, Inc. (“Plaintiff”) with the consent of Defendant Brandon Lucas

(“Defendant”), through undersigned counsel, move this Court to enter the Stipulated Order and

Permanent Injunction attached hereto as Exhibit 1. Plaintiff and Defendant have reached a

settlement of this matter and respectfully request the Court enter the Stipulated Order and

Permanent Injunction as agreed-to by the parties.

       Respectfully submitted, this 18th day of March, 2019.




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                                 ls/Christopher M. Thomas
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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing JOINT MOTION FOR ENTRY OF

STIPULATED ORDER AND PERMANENT INJUNCTION ON CONSENT was

electronically filed on this day with the Clerk of Court using the CM/ECF system on this day,

March 18, 2019, with the Clerk of Court and that a true and accurate copy was sent to Defendant

via electronic mail and by depositing a copy postage pre-paid in the United States mail,

addressed as follows:

                        Brandon Lucas
                        11211 S. Military Trail
                        Apt. #5021
                        Boynton Beach, FL 33436
                        juniorolympicgold@gmail.com


       This 18th day of March 2019.

                                           PARKER POE ADAMS & BERNSTEIN LLP


                                           /s/ Christopher M. Thomas
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